                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                   )
                                           )
v.                                         )          No. 3:02-00053
                                           )          JUDGE CAMPBELL
RANDALL PARKER                             )

                                        ORDER

      Pending before the Court is the Government’s Motion For Appearance Of Co-Counsel

(Docket No. 826). The Motion is GRANTED.

      It is so ORDERED.



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                                               TODD J. CAMPBELL
                                               UNITED STATES DISTRICT JUDGE




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